OAO        (Rev. 02/16) Amended Judgment in a Criminal Case                                              (NOTE: Identify Changes with Asterisks (*))
245C       Sheet 1


                                           United States District Court
                    MIDDLE                                              District of                             TENNESSEE

          UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
                                                                                 Case Number:                    3:12-00013
                MANILA VICHITVONGSA                                              USM Number:                     20928-075
Date of Original Judgment: Dec. 31, 2014                                         Luke A. Evans
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney

Reason for Amendment:
X Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                   to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                 G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                   G 18 U.S.C. § 3559(c)(7)
                                                                                 G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:

  X        was found guilty on count(s)     One (1) through Eight (8)             after a plea of not guilty. On appeal, the Sixth Circuit ruled that
two of the Section 924(c) convictions should be vacated, and the parties agree that Counts Four (4) and Eight (8) should be VACATED.

The defendant is adjudicated guilty of these offenses:

Title & Section                Nature of Offense                                                                 Offense Ended                 Count
18 U.S.C. § 1951               Conspiracy to Commit Hobbs Act Robbery                                           June 10, 2011                 One (1)
18 U.S.C. § 924(c)(1)(A)(ii)   Brandishing a Firearm During and in Relation to a                                June 10, 2011                 Two (2)
                               Crime of Violence
21 U.S.C. §§ 841(a)(1) & 846 Conspiracy to Possess with Intent to Distribute 5                                  June 10, 2011                 Three (3)
                               Kilograms or More of Cocaine
18 U.S.C. § 1951               Conspiracy to Commit Hobbs Act Robbery                                           June 27, 2011                 Five (5)
18 U.S.C. §§ 924(c)(1)(A)(iii) Discharge of a Firearm During and in Relation                                    June 27, 2011                 Six (6)
& (C)(i)                       to a Crime of Violence
21 U.S.C. §§ 841(a)(1) & 846 Conspiracy to Possess with Intent to Distribute a                                  June 27, 2011                 Seven (7)
                               Quantity of Marijuana

        The defendant is sentenced as provided in pages 2 through     6          of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
           The defendant has been found not guilty on count(s)
         Count(s)                                    is/are dismissed on the motion of the United States.

         It is ordered that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                          November 21, 2016
                                                                                          Date of Imposition of Judgment


                                                                                          Signature of Judge

                                                                                          Todd J. Campbell, U.S. District Judge
                                                                                          Name and Title of Judge

                                                                                          November 21, 2016
                                                                                          Date
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                                                           IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

Six Hundred Nineteen (619) months as follows:

                 Count One (1): Two Hundred Thirty-Five (235) months concurrent with Counts 3, 5 and 7
                 Count Two (2): Eight-Four (84) months consecutive to Counts 1, 3, 5 and 7
                 Count Three (3): Two Hundred Thirty-Five (235) months concurrent with Counts 1, 5 and 7
                 Count Five (5): Two Hundred Thirty-Five (235) months concurrent with Counts 1, 3 and 7
                 Count Six (6): Three Hundred (300) months consecutive to Counts 1, 2, 3, 5 and 7
                 Count Seven (7): Sixty (60) months concurrent with Counts 1, 3 and 5

         The sentence of 619 months shall be consecutive to the sentence imposed in TNMD U.S. District Court Case No. 3:11-CR-00204

     X           The court makes the following recommendations to the Bureau of Prisons:

                 1. Incarceration near Nashville, Tennessee, to be close to family.

     X           The defendant is remanded to the custody of the United States Marshal.

                 The defendant shall surrender to the United States Marshal for this district:

                                   at                                             a.m.               p.m. on
                                   as notified by the United States Marshal.

                 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                                   before 2 p.m. on                                        .
                                   as notified by the United States Marshal.
                                   as notified by the Probation or Pretrial Services Office.

                                                                 RETURN
I have executed this judgment as follows:




         Defendant delivered on                                 to

at                                          , with a certified copy of this judgment.



                                                                                           UNITED STATES MARSHAL



                                                                        By
                                                                                           DEPUTY UNITED STATES MARSHAL




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                                                              SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a total term of: five (5) years as follows:

          Count One (1): Three (3) years concurrent with all other Counts
          Count Two (2): Five (5) years concurrent with all other Counts
          Count Three (3): Five (5) years concurrent with all other Counts
          Count Five (5): Three (3) years concurrent with all other Counts
          Count Six (6): Five (5) years concurrent with all other Counts
          Count Seven (7):Two (2) years concurrent with all other Counts

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the Court.

                    The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
                    substance abuse. (Check, if applicable.)
      X             The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
                    applicable.)
      X             The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
                    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
                    is a student, as directed by the probation officer. (Check, if applicable.)
                    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or any
          paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
          granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
          court; and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with
          such notification requirement.




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                                 SPECIAL CONDITIONS OF SUPERVISION


1.   The Defendant is prohibited from owning, carrying or possessing firearms, ammunition, destructive devices or
     other dangerous weapons.

2.   The Defendant shall participate in a program of drug testing and substance abuse treatment which may include
     a 30-day inpatient treatment program followed by up to 90 days in a community correction center at the direction
     of the Probation Officer. The Defendant shall pay all or part of the cost for substance abuse treatment if the United
     States Probation Office determines the Defendant has the financial ability to do so or has appropriate insurance
     coverage to pay for such treatment.

3.   The Defendant shall furnish all financial records, including, without limitation, earnings records and tax returns,
     to the United States Probation Office upon request.

4.   The Defendant shall not be involved with gang activity, including but not limited to Asian Pride Gang, possess
     any gang paraphernalia or associate with any person affiliated with a gang.

5.   The Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.




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                                              CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the attached sheet.

                           Assessment                                      Fine                                  Restitution
TOTALS                     $600.00                                         $0.00                                 $15,000.00



                  The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will
                  be entered after such determination.

  X               The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                  If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                  otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
                  victims must be paid before the United States is paid.

Name of Payee                             Total Loss*                               Restitution Ordered                    Priority or Percentage

William and Lorraine Webb            $15,000.00                                     $15,000.00

The Government shall provide
the address of the victims,
under seal, to the Clerk of Court.




TOTALS                               $15,000.00                                     $15,000.00

                  Restitution amount ordered pursuant to plea agreement $

                  The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                  the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule
                  of Payments sheet may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

  X               The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                    X        the interest requirement is waived for the                fine      X        restitution.

                             the interest requirement for the               fine               restitution is modified as follows:


*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.




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                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A                            Lump sum payment of $                              due immediately, balance due

                                         not later than                        , or
                                         in accordance                C,                  D,                  E, or                F below; or

B            X               Payment to begin immediately (may be combined with                     C,          D, or            F below); or

C                            Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                                  (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this
                             judgment; or

D                            Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                               (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from
                             imprisonment to a term of supervision; or

E                            Payment during the term of supervised release will commence within             (e.g., 30 or 60 days) after release
                             from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
                             that time; or

F                            Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


    X              Joint and Several

                   Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
                   Amount, and corresponding payee, if appropriate.

                   Defendant’s restitution obligation is joint and several with that of his Co-Defendants, to the extent the Co-Defendants are
                   ordered to pay restitution.




                   The defendant shall pay the cost of prosecution.

                   The defendant shall pay the following court cost(s):

                   The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) penalties, and (8) costs, including the cost of prosecution and court costs.



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